               Case 1:18-bk-14430                  Doc 1        Filed 12/07/18 Entered 12/07/18 19:09:41                                Desc Main
                                                               Document      Page 1 of 108
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Michael                                                          Laura
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        E.                                                               G.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Samuels                                                          Samuels
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1606                                                      xxx-xx-4948
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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Debtor 1   Michael E. Samuels
Debtor 2   Laura G. Samuels                                                                           Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and     I have not used any business name or EINs.
     Employer Identification
     Numbers (EIN) you have FDBA Willis Realty
     used in the last 8 years FDBA Home Solutions
                                 FDBA Home Solutions
                                 FDBA PS Homes
                                 FDBA Thinksmart Realty
                                 FDBA Michael & Bob                                               I have not used any business name or EINs.
                                 DBA Samuels Law
                                 FDBA PSH Investments                                          FDBA Unlocking Potential
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 278 Ritchie Ave.                                              4910 Hunt Rd. #2122
                                 Cincinnati, OH 45215                                          Cincinnati, OH 45242
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Hamilton                                                      Hamilton
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Michael E. Samuels
Debtor 2    Laura G. Samuels                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Michael E. Samuels
Debtor 2    Laura G. Samuels                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   Michael Samuels Law, LLC
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               278 Ritchie Ave.
     If you have more than one                 Cincinnati, OH 45215
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Michael E. Samuels
Debtor 2    Laura G. Samuels                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Michael E. Samuels
Debtor 2    Laura G. Samuels                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Michael E. Samuels                                            /s/ Laura G. Samuels
                                 Michael E. Samuels                                                Laura G. Samuels
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     December 4, 2018                                  Executed on     December 4, 2018
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Michael E. Samuels
Debtor 2   Laura G. Samuels                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Kathleen D. Mezher                                             Date         December 4, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Kathleen D. Mezher #0016982
                                Printed name

                                Kathleen Mezher & Associates, LLC
                                Firm name

                                8075 Beechmont Avenue
                                Cincinnati, OH 45255
                                Number, Street, City, State & ZIP Code

                                Contact phone     (513) 388-4651; (513) 474-3700             Email address         kathleen@mezherlaw.com
                                #0016982 OH
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Michael E. Samuels
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Laura G. Samuels
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             978,520.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              25,537.23

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,004,057.23

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             921,707.62

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              10,531.60

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             189,166.13


                                                                                                                                     Your total liabilities $             1,121,405.35


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,334.26

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,721.49

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            10,531.60

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            50,000.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             60,531.60




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
               Case 1:18-bk-14430                               Doc 1          Filed 12/07/18 Entered 12/07/18 19:09:41                                     Desc Main
                                                                              Document     Page 10 of 108
 Fill in this information to identify your case and this filing:

 Debtor 1                    Michael E. Samuels
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Laura G. Samuels
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF OHIO

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        278 Ritchie Ave.                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Cincinnati                        OH        45215-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $305,750.00                $305,750.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Hamilton                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                                        Case number (if known)

       If you own or have more than one, list here:
 1.2                                                                    What is the property? Check all that apply
       10829 Invicta Ct.                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45231-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $45,790.00                 $45,790.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty LLC


       If you own or have more than one, list here:
 1.3                                                                    What is the property? Check all that apply
       2524 Niagara St.                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45251-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $57,430.00                 $57,430.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty LLC




Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 2
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                                        Case number (if known)

       If you own or have more than one, list here:
 1.4                                                                    What is the property? Check all that apply
       2550 Ontario St.                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45231-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $51,360.00                 $51,360.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty LLC


       If you own or have more than one, list here:
 1.5                                                                    What is the property? Check all that apply
       9715 Overview Ln.                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45231-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $90,910.00                 $90,910.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty LLC




Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 3
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                                        Case number (if known)

       If you own or have more than one, list here:
 1.6                                                                    What is the property? Check all that apply
       6837 Greismer Ave.                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45237-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $50,360.00                 $50,360.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty, LLC


       If you own or have more than one, list here:
 1.7                                                                    What is the property? Check all that apply
       9687 Cedarhurst Dr.                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45251-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $49,040.00                 $49,040.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty LLC




Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 4
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                                        Case number (if known)

       If you own or have more than one, list here:
 1.8                                                                    What is the property? Check all that apply
       8634 DeSoto Dr.                                                         Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45231-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $39,850.00                 $39,850.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty, LLC


       If you own or have more than one, list here:
 1.9                                                                    What is the property? Check all that apply
       1326 Madeleine Cir.                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45231-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $35,150.00                 $35,150.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty, LLC /Home Solutions LLC




Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 5
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                                        Case number (if known)

       If you own or have more than one, list here:
 1.1
 0                                                                      What is the property? Check all that apply
       1272 Frost Ct.                                                          Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45231-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $38,740.00                 $38,740.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty, LLC


       If you own or have more than one, list here:
 1.1
 1                                                                      What is the property? Check all that apply
       924 Gretna Ln.                                                          Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45240-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $84,710.00                 $84,710.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty, LLC




Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 6
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                                        Case number (if known)

       If you own or have more than one, list here:
 1.1
 2                                                                      What is the property? Check all that apply
       817 W. Kemper Rd.                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45240-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $59,210.00                 $59,210.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty, LLC


       If you own or have more than one, list here:
 1.1
 3                                                                      What is the property? Check all that apply
       1510 Kinney Ave.                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
       Cincinnati                        OH        45231-0000                  Land                                            entire property?           portion you own?
       City                              State              ZIP Code           Investment property                                      $70,220.00                 $70,220.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Hamilton                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        In name of Willis Realty, LLC


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                   $978,520.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 7
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                                   Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Nissan                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Sentra                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  35,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $14,275.00                 $14,275.00
                                                                     (see instructions)



  3.2    Make:       Toyota                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Camry Hybrid                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                130,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $4,406.00                  $4,406.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $18,681.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Refrigerator, Stove, Washer, Dryer ($400), Living Room ($300), Dining
                                    Room ($200), Bedroom ($300), Desk, Lamps, Chair ($100)                                                                          $1,300.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV, DVD ($300), Computer & Printer ($400)                                                                                         $700.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 8
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 Debtor 1         Michael E. Samuels
 Debtor 2         Laura G. Samuels                                                                                            Case number (if known)

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothing                                                                                                                  $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Watch, Costume Jewelry                                                                                                    $200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            3 dogs                                                                                                                        $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $2,400.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash on Hand                           $10.00


Official Form 106A/B                                                                       Schedule A/B: Property                                                        page 9
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                   Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                            US Bank
                                      17.1.    Checking                     Home Solutions                                                        $50.00


                                                                            US Bank
                                      17.2.    Checking                     Samuels Law IOLTA                                                     $10.00


                                                                            US Bank
                                      17.3.    Checking                     Samuels Law operating                                             $1,000.00


                                                                            US Bank
                                      17.4.    Checking                     Thinksmart Realty                                                 $1,000.00



                                      17.5.    Checking                     Civista Bank                                                        $350.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                   % of ownership:

                                         100% ownership of Willis Realty, LLC - owns several
                                         pieces of real estate listed above                               100          %                            $0.00


                                         100% ownership of Home Solutions, LLC - owns
                                         nothing                                                          100          %                            $0.00


                                         100% ownership of Home Solutions, Ltd - owns
                                         nothing                                                          100          %                            $0.00


                                         100% ownership of PS Homes, LLC - owns nothing                   100          %                            $0.00


                                         100% ownership of Thinksmart Realty, LLC - owns
                                         nothing                                                          100          %                            $0.00


                                         100% ownership of Michael & Bob, LLC - owns
                                         nothing                                                          100          %                            $0.00


                                         100% ownership of Samuels Law, LLC - owns
                                         computer, file cabinet, desk                                     100          %                        $500.00




Official Form 106A/B                                                    Schedule A/B: Property                                                     page 10
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             Case 1:18-bk-14430                        Doc 1          Filed 12/07/18 Entered 12/07/18 19:09:41                            Desc Main
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 Debtor 1         Michael E. Samuels
 Debtor 2         Laura G. Samuels                                                                            Case number (if known)


                                            100% ownership of PSH Investments, LLC - owns
                                            nothing                                                                  100        %                            $0.00


                                            100% ownership of Unlocking Potential, LLC - owns
                                            nothing                                                                  100        %                            $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          IRA                               Equity Trust Company IRA                                                   $1,536.23


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



Official Form 106A/B                                                    Schedule A/B: Property                                                              page 11
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 Debtor 1        Michael E. Samuels
 Debtor 2        Laura G. Samuels                                                                                                Case number (if known)

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

                                             Term life Insurance                                                      Spouse                                                     $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $4,456.23


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                           page 12
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 Debtor 1         Michael E. Samuels
 Debtor 2         Laura G. Samuels                                                                                                      Case number (if known)


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $978,520.00
 56. Part 2: Total vehicles, line 5                                                                           $18,681.00
 57. Part 3: Total personal and household items, line 15                                                       $2,400.00
 58. Part 4: Total financial assets, line 36                                                                   $4,456.23
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $25,537.23              Copy personal property total           $25,537.23

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,004,057.23




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 13
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               Case 1:18-bk-14430                     Doc 1           Filed 12/07/18 Entered 12/07/18 19:09:41                            Desc Main
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 Fill in this information to identify your case:

 Debtor 1                Michael E. Samuels
                         First Name                         Middle Name                 Last Name

 Debtor 2                Laura G. Samuels
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      278 Ritchie Ave. Cincinnati, OH 45215                          $305,750.00                             $136,925.00       Ohio Rev. Code Ann. §
      Hamilton County                                                                                                          2329.66(A)(1)
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      10829 Invicta Ct. Cincinnati, OH 45231                          $45,790.00                                      $0.00    Ohio Rev. Code Ann. §
      Hamilton County                                                                                                          2329.66(A)(18)
      In name of Willis Realty LLC                                                         100% of fair market value, up to
      Line from Schedule A/B: 1.2                                                          any applicable statutory limit

      2524 Niagara St. Cincinnati, OH 45251                           $57,430.00                                      $0.00    Ohio Rev. Code Ann. §
      Hamilton County                                                                                                          2329.66(A)(18)
      In name of Willis Realty LLC                                                         100% of fair market value, up to
      Line from Schedule A/B: 1.3                                                          any applicable statutory limit

      2550 Ontario St. Cincinnati, OH 45231                           $51,360.00                                      $0.00    Ohio Rev. Code Ann. §
      Hamilton County                                                                                                          2329.66(A)(18)
      In name of Willis Realty LLC                                                         100% of fair market value, up to
      Line from Schedule A/B: 1.4                                                          any applicable statutory limit

      9715 Overview Ln. Cincinnati, OH                                $90,910.00                                      $0.00    Ohio Rev. Code Ann. §
      45231 Hamilton County                                                                                                    2329.66(A)(18)
      In name of Willis Realty LLC                                                         100% of fair market value, up to
      Line from Schedule A/B: 1.5                                                          any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 5
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 Debtor 1    Michael E. Samuels
 Debtor 2    Laura G. Samuels                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     6837 Greismer Ave. Cincinnati, OH                                $50,360.00                                      $0.00       Ohio Rev. Code Ann. §
     45237 Hamilton County                                                                                                        2329.66(A)(18)
     In name of Willis Realty, LLC                                                         100% of fair market value, up to
     Line from Schedule A/B: 1.6                                                           any applicable statutory limit

     9687 Cedarhurst Dr. Cincinnati, OH                               $49,040.00                                      $0.00       Ohio Rev. Code Ann. §
     45251 Hamilton County                                                                                                        2329.66(A)(18)
     In name of Willis Realty LLC                                                          100% of fair market value, up to
     Line from Schedule A/B: 1.7                                                           any applicable statutory limit

     8634 DeSoto Dr. Cincinnati, OH 45231                             $39,850.00                                      $0.00       Ohio Rev. Code Ann. §
     Hamilton County                                                                                                              2329.66(A)(18)
     In name of Willis Realty, LLC                                                         100% of fair market value, up to
     Line from Schedule A/B: 1.8                                                           any applicable statutory limit

     1326 Madeleine Cir. Cincinnati, OH                               $35,150.00                                      $0.00       Ohio Rev. Code Ann. §
     45231 Hamilton County                                                                                                        2329.66(A)(18)
     In name of Willis Realty, LLC /Home                                                   100% of fair market value, up to
     Solutions LLC                                                                         any applicable statutory limit
     Line from Schedule A/B: 1.9

     1272 Frost Ct. Cincinnati, OH 45231                              $38,740.00                                      $0.00       Ohio Rev. Code Ann. §
     Hamilton County                                                                                                              2329.66(A)(18)
     In name of Willis Realty, LLC                                                         100% of fair market value, up to
     Line from Schedule A/B: 1.10                                                          any applicable statutory limit

     924 Gretna Ln. Cincinnati, OH 45240                              $84,710.00                                      $0.00       Ohio Rev. Code Ann. §
     Hamilton County                                                                                                              2329.66(A)(18)
     In name of Willis Realty, LLC                                                         100% of fair market value, up to
     Line from Schedule A/B: 1.11                                                          any applicable statutory limit

     817 W. Kemper Rd. Cincinnati, OH                                 $59,210.00                                      $0.00       Ohio Rev. Code Ann. §
     45240 Hamilton County                                                                                                        2329.66(A)(18)
     In name of Willis Realty, LLC                                                         100% of fair market value, up to
     Line from Schedule A/B: 1.12                                                          any applicable statutory limit

     1510 Kinney Ave. Cincinnati, OH 45231                            $70,220.00                                      $0.00       Ohio Rev. Code Ann. §
     Hamilton County                                                                                                              2329.66(A)(18)
     In name of Willis Realty, LLC                                                         100% of fair market value, up to
     Line from Schedule A/B: 1.13                                                          any applicable statutory limit

     2015 Nissan Sentra 35,000 miles                                  $14,275.00                                      $0.00       Ohio Rev. Code Ann. §
     Line from Schedule A/B: 3.1                                                                                                  2329.66(A)(18)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2007 Toyota Camry Hybrid 130,000                                  $4,406.00                                 $3,775.00        Ohio Rev. Code Ann. §
     miles                                                                                                                        2329.66(A)(2)
     Line from Schedule A/B: 3.2                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Refrigerator, Stove, Washer, Dryer                                $1,300.00                                 $1,300.00        Ohio Rev. Code Ann. §
     ($400), Living Room ($300), Dining                                                                                           2329.66(A)(4)(a)
     Room ($200), Bedroom ($300), Desk,                                                    100% of fair market value, up to
     Lamps, Chair ($100)                                                                   any applicable statutory limit
     Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 5
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 Debtor 1    Michael E. Samuels
 Debtor 2    Laura G. Samuels                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     TV, DVD ($300), Computer & Printer                                  $700.00                                   $700.00        Ohio Rev. Code Ann. §
     ($400)                                                                                                                       2329.66(A)(4)(a)
     Line from Schedule A/B: 7.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing                                                            $200.00                                   $200.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 11.1                                                                                                 2329.66(A)(4)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Watch, Costume Jewelry                                              $200.00                                 $1,600.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 12.1                                                                                                 2329.66(A)(4)(b)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     3 dogs                                                                 $0.00                                     $0.00       Ohio Rev. Code Ann. §
     Line from Schedule A/B: 13.1                                                                                                 2329.66(A)(18)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on Hand                                                         $10.00                                    $10.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 16.1                                                                                                 2329.66(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: US Bank                                                    $50.00                                    $50.00        Ohio Rev. Code Ann. §
     Home Solutions                                                                                                               2329.66(A)(3)
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: US Bank                                                    $10.00                                    $10.00        Ohio Rev. Code Ann. §
     Samuels Law IOLTA                                                                                                            2329.66(A)(3)
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: US Bank                                                 $1,000.00                                   $405.00        Ohio Rev. Code Ann. §
     Samuels Law operating                                                                                                        2329.66(A)(3)
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: US Bank                                                 $1,000.00                                   $595.00        Ohio Rev. Code Ann. §
     Samuels Law operating                                                                                                        2329.66(A)(18)
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: US Bank                                                 $1,000.00                                   $655.00        Ohio Rev. Code Ann. §
     Thinksmart Realty                                                                                                            2329.66(A)(18)
     Line from Schedule A/B: 17.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Civista Bank                                              $350.00                                   $350.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 17.5                                                                                                 2329.66(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 5
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 Debtor 1    Michael E. Samuels
 Debtor 2    Laura G. Samuels                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     100% ownership of Home Solutions,                                      $0.00                                     $0.00       Ohio Rev. Code Ann. §
     LLC - owns nothing                                                                                                           2329.66(A)(18)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.2                                                          any applicable statutory limit

     100% ownership of Home Solutions, Ltd                                  $0.00                                     $0.00       Ohio Rev. Code Ann. §
     - owns nothing                                                                                                               2329.66(A)(18)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.3                                                          any applicable statutory limit

     100% ownership of PS Homes, LLC -                                      $0.00                                     $0.00       Ohio Rev. Code Ann. §
     owns nothing                                                                                                                 2329.66(A)(18)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.4                                                          any applicable statutory limit

     100% ownership of Thinksmart Realty,                                   $0.00                                     $0.00       Ohio Rev. Code Ann. §
     LLC - owns nothing                                                                                                           2329.66(A)(18)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.5                                                          any applicable statutory limit

     100% ownership of Michael & Bob, LLC                                   $0.00                                     $0.00       Ohio Rev. Code Ann. §
     - owns nothing                                                                                                               2329.66(A)(18)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.6                                                          any applicable statutory limit

     100% ownership of Samuels Law, LLC -                                $500.00                                   $500.00        Ohio Rev. Code Ann. §
     owns computer, file cabinet, desk                                                                                            2329.66(A)(5)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.7                                                          any applicable statutory limit

     100% ownership of PSH Investments,                                     $0.00                                     $0.00       Ohio Rev. Code Ann. §
     LLC - owns nothing                                                                                                           2329.66(A)(18)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.8                                                          any applicable statutory limit

     100% ownership of Unlocking Potential,                                 $0.00                                     $0.00       Ohio Rev. Code Ann. §
     LLC - owns nothing                                                                                                           2329.66(A)(18)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.9                                                          any applicable statutory limit

     IRA: Equity Trust Company IRA                                     $1,536.23                                      100%        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 21.1                                                                                                 2329.66(A)(10)(c)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Term life Insurance                                                    $0.00                                     100%        Ohio Rev. Code Ann. §§
     Beneficiary: Spouse                                                                                                          2329.66(A)(6)(b), 3911.10,
     Line from Schedule A/B: 31.1                                                          100% of fair market value, up to       3911.12, 3911.14
                                                                                           any applicable statutory limit

     Wages                                                              Unknown                                        75%        R.C. §2329.66(A)(13)
     Line from Schedule A/B:
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 5
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 Debtor 1    Michael E. Samuels
 Debtor 2    Laura G. Samuels                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Interest in any property                                          $1,250.00                                 $1,250.00        R.C. § 2329.66(A)(18)
     Line from Schedule A/B:
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on Hand                                                        $125.00                                   $125.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B:                                                                                                      2329.66(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Earned Income Credit and Child Tax                                 Unknown                                       100%        Ohio Rev. Code Ann.
     Credit                                                                                                                       §2329.66(A)(9)(g)
     Line from Schedule A/B:                                                               100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 5 of 5
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 Fill in this information to identify your case:

 Debtor 1                   Michael E. Samuels
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Laura G. Samuels
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ditech                                   Describe the property that secures the claim:                 $55,358.88               $51,360.00            $3,998.88
         Creditor's Name                          2550 Ontario St. Cincinnati, OH 45231
                                                  Hamilton County
                                                  In name of Willis Realty LLC
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 6172                            apply.
         Rapid City, SD 57709-6172                    Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          7/13/2007                 Last 4 digits of account number


 2.2     Ditech                                   Describe the property that secures the claim:                 $62,428.19               $50,360.00           $12,068.19
         Creditor's Name                          6837 Greismer Ave. Cincinnati, OH
                                                  45237 Hamilton County
                                                  In name of Willis Realty, LLC
                                                  As of the date you file, the claim is: Check all that
         7360 S. Kyrene Rd.                       apply.
         Tempe, AZ 85283-4583                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          7/13/2017                 Last 4 digits of account number


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 11
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              Case 1:18-bk-14430                         Doc 1         Filed 12/07/18 Entered 12/07/18 19:09:41                              Desc Main
                                                                      Document     Page 29 of 108
 Debtor 1 Michael E. Samuels                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laura G. Samuels
               First Name                  Middle Name                      Last Name




 2.3     Equity Trust Company                       Describe the property that secures the claim:                    $91,000.00        $90,910.00           $90.00
         Creditor's Name                            9715 Overview Ln. Cincinnati, OH
                                                    45231 Hamilton County
                                                    In name of Willis Realty LLC
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 16354                             apply.
         Rochester, NY 14616-3545                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          8/14/2008                   Last 4 digits of account number


 2.4     Fannie Mae                                 Describe the property that secures the claim:                    $52,017.45        $35,150.00     $16,867.45
         Creditor's Name                            1326 Madeleine Cir. Cincinnati, OH
                                                    45231 Hamilton County
                                                    In name of Willis Realty, LLC /Home
         One S. Wacker Dr., Suite                   Solutions LLC
                                                    As of the date you file, the claim is: Check all that
         1300                                       apply.
         Chicago, IL 60606-4667                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          7/13/2007                   Last 4 digits of account number


 2.5     First Financial Bank                       Describe the property that secures the claim:                    $39,220.00        $70,220.00             $0.00
         Creditor's Name                            1510 Kinney Ave. Cincinnati, OH
                                                    45231 Hamilton County
                                                    In name of Willis Realty, LLC
                                                    As of the date you file, the claim is: Check all that
         300 High St., Room 601                     apply.
         Hamilton, OH 45011                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   BUSINESS
       community debt



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 11
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 Debtor 1 Michael E. Samuels                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laura G. Samuels
               First Name                  Middle Name                      Last Name


 Date debt was incurred          12/13/2016                  Last 4 digits of account number         8714

 2.6     First Financial Bank                       Describe the property that secures the claim:                       Unknown        $305,750.00        Unknown
         Creditor's Name                            278 Ritchie Ave. Cincinnati, OH 45215
                                                    Hamilton County
                                                    As of the date you file, the claim is: Check all that
         300 High St., Room 601                     apply.
         Hamilton, OH 45011                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   BUSINESS
       community debt

 Date debt was incurred          12/13/2016                  Last 4 digits of account number         8714

 2.7     First Financial Bank                       Describe the property that secures the claim:                      $6,815.42        $57,430.00             $0.00
         Creditor's Name                            2524 Niagara St. Cincinnati, OH 45251
                                                    Hamilton County
                                                    In name of Willis Realty LLC
                                                    As of the date you file, the claim is: Check all that
         300 High St., Room 601                     apply.
         Hamilton, OH 45011                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   BUSINESS
       community debt

 Date debt was incurred          12/13/2016                  Last 4 digits of account number         8714

 2.8     Guardian Savings Bank*                     Describe the property that secures the claim:                   $150,000.00        $305,750.00             $0.00
         Creditor's Name                            278 Ritchie Ave. Cincinnati, OH 45215
                                                    Hamilton County
                                                    As of the date you file, the claim is: Check all that
         2774 Blue Rock Rd.                         apply.
         Cincinnati, OH 45239                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 11
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 Debtor 1 Michael E. Samuels                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laura G. Samuels
               First Name                  Middle Name                      Last Name


 Date debt was incurred          10/9/2003                   Last 4 digits of account number


         Home Equity Solutions,
 2.9                                                                                                                 $85,000.00        $84,710.00         $290.00
         Ltd.                                       Describe the property that secures the claim:
         Creditor's Name                            924 Gretna Ln. Cincinnati, OH 45240
         10979 Reed Hartman                         Hamilton County
         Highway                                    In name of Willis Realty, LLC
                                                    As of the date you file, the claim is: Check all that
         Suite 307                                  apply.
         Cincinnati, OH 45242                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          7/13/2007                   Last 4 digits of account number


 2.1
 0       Huntington Bank                            Describe the property that secures the claim:                    $31,000.00        $70,220.00             $0.00
         Creditor's Name                            1510 Kinney Ave. Cincinnati, OH
                                                    45231 Hamilton County
                                                    In name of Willis Realty, LLC
                                                    As of the date you file, the claim is: Check all that
         17 S. High St.                             apply.
         Columbus, OH 43216                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          2002                        Last 4 digits of account number


 2.1
 1       Mr. Cooper Mortgage                        Describe the property that secures the claim:                    $50,367.71        $45,790.00       $4,577.71
         Creditor's Name                            10829 Invicta Ct. Cincinnati, OH 45231
                                                    Hamilton County
                                                    In name of Willis Realty LLC
                                                    As of the date you file, the claim is: Check all that
         8950 Cypress Waters Blvd.                  apply.
         Dallas, TX 75019                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 4 of 11
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 Debtor 1 Michael E. Samuels                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laura G. Samuels
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          7/13/2007                   Last 4 digits of account number


 2.1
 2       Mr. Cooper Mortgage                        Describe the property that secures the claim:                    $50,614.58        $57,430.00             $0.00
         Creditor's Name                            2524 Niagara St. Cincinnati, OH 45251
                                                    Hamilton County
                                                    In name of Willis Realty LLC
                                                    As of the date you file, the claim is: Check all that
         8950 Cypress Waters Blvd.                  apply.
         Dallas, TX 75019                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          7/13/2007                   Last 4 digits of account number


 2.1     Nissan Motor Acceptance
 3       Bankruptcy Dept.                           Describe the property that secures the claim:                    $18,000.00        $14,275.00       $3,725.00
         Creditor's Name                            2015 Nissan Sentra 35,000 miles

                                                    As of the date you file, the claim is: Check all that
         P.O. Box 660366                            apply.
         Dallas, TX 75266-0366                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Auto Loan
       community debt

 Date debt was incurred          4/22/2015                   Last 4 digits of account number


 2.1
 4       Ocwen*                                     Describe the property that secures the claim:                    $50,768.93        $49,040.00       $1,728.93
         Creditor's Name                            9687 Cedarhurst Dr. Cincinnati, OH
         1661 Worthington Rd.,                      45251 Hamilton County
         Suite 100                                  In name of Willis Realty LLC
                                                    As of the date you file, the claim is: Check all that
         West Palm Beach, FL                        apply.
         33409                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 11
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 Debtor 1 Michael E. Samuels                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laura G. Samuels
               First Name                  Middle Name                      Last Name



       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          7/13/2007                   Last 4 digits of account number


 2.1
 5       Ohio Dept. of Taxation                     Describe the property that secures the claim:                    $13,648.32        $305,750.00             $0.00
         Creditor's Name                            278 Ritchie Ave. Cincinnati, OH 45215
                                                    Hamilton County
         Attn: Bankruptcy Division
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 530                               apply.
         Columbus, OH 43266-0530                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Tax Lien
       community debt

 Date debt was incurred          6/7/2016                    Last 4 digits of account number         9071

 2.1
 6       Ohio Dept. of Taxation                     Describe the property that secures the claim:                    $13,732.72        $305,750.00             $0.00
         Creditor's Name                            278 Ritchie Ave. Cincinnati, OH 45215
                                                    Hamilton County
         Attn: Bankruptcy Division
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 530                               apply.
         Columbus, OH 43266-0530                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Tax Lien
       community debt

 Date debt was incurred          6/7/2016                    Last 4 digits of account number         9072

 2.1
 7       Ohio Dept. of Taxation                     Describe the property that secures the claim:                        $249.38       $305,750.00             $0.00
         Creditor's Name                            278 Ritchie Ave. Cincinnati, OH 45215
                                                    Hamilton County
         Attn: Bankruptcy Division
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 530                               apply.
         Columbus, OH 43266-0530                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 6 of 11
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 Debtor 1 Michael E. Samuels                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laura G. Samuels
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Tax Lien
       community debt

 Date debt was incurred          3/6/2017                    Last 4 digits of account number         1162

 2.1
 8       Ohio Dept. of Taxation                     Describe the property that secures the claim:                        $447.23       $305,750.00             $0.00
         Creditor's Name                            278 Ritchie Ave. Cincinnati, OH 45215
                                                    Hamilton County
         Attn: Bankruptcy Division
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 530                               apply.
         Columbus, OH 43266-0530                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Tax Lien
       community debt

 Date debt was incurred          6/6/2017                    Last 4 digits of account number         9584

 2.1
 9       Ohio Dept. of Taxation                     Describe the property that secures the claim:                        $748.99       $305,750.00             $0.00
         Creditor's Name                            278 Ritchie Ave. Cincinnati, OH 45215
                                                    Hamilton County
         Attn: Bankruptcy Division
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 530                               apply.
         Columbus, OH 43266-0530                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Tax Lien
       community debt

 Date debt was incurred          10/20/2017                  Last 4 digits of account number         8853

 2.2
 0       Ohio Dept. of Taxation                     Describe the property that secures the claim:                        $675.24       $305,750.00             $0.00
         Creditor's Name                            278 Ritchie Ave. Cincinnati, OH 45215
                                                    Hamilton County
         Attn: Bankruptcy Division
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 530                               apply.
         Columbus, OH 43266-0530                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 7 of 11
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 Debtor 1 Michael E. Samuels                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laura G. Samuels
               First Name                  Middle Name                      Last Name


                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Tax Lien
       community debt

 Date debt was incurred          10/20/2017                  Last 4 digits of account number         8855

 2.2     Select Portfolio Servicing,
 1       Inc.                                       Describe the property that secures the claim:                    $50,614.58        $39,850.00     $10,764.58
         Creditor's Name                            8634 DeSoto Dr. Cincinnati, OH 45231
         Attn: Bankruptcy Dept.                     Hamilton County
         P.O. Box 65250                             In name of Willis Realty, LLC
                                                    As of the date you file, the claim is: Check all that
         Salt Lake City, UT                         apply.
         84165-0250                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          7/13/2007                   Last 4 digits of account number


 2.2
 2       Stock Yards Bank & Trust                   Describe the property that secures the claim:                    $39,000.00        $38,740.00         $260.00
         Creditor's Name                            1272 Frost Ct. Cincinnati, OH 45231
                                                    Hamilton County
         1040 E. Main St.                           In name of Willis Realty, LLC
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 32890                             apply.
         Louisville, KY 40232-2890                       Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          2/18/2009                   Last 4 digits of account number


 2.2
 3       Stock Yards Bank & Trust                   Describe the property that secures the claim:                    $60,000.00        $59,210.00         $790.00




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 Debtor 1 Michael E. Samuels                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Laura G. Samuels
               First Name                  Middle Name                      Last Name


         Creditor's Name                            817 W. Kemper Rd. Cincinnati, OH
                                                    45240 Hamilton County
         1040 E. Main St.                           In name of Willis Realty, LLC
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 32890                             apply.
         Louisville, KY 40232-2890                       Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage-BUSINESS
       community debt

 Date debt was incurred          12/18/2007                  Last 4 digits of account number


 2.2
 4       WesBanco, Inc.                             Describe the property that secures the claim:                       Unknown                 $50,360.00              Unknown
         Creditor's Name                            6837 Greismer Ave. Cincinnati, OH
                                                    45237 Hamilton County
                                                    In name of Willis Realty, LLC
                                                    As of the date you file, the claim is: Check all that
         1 Bank Plaza                               apply.
         Wheeling, WV 26003                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage-BUSINESS
       community debt

 Date debt was incurred          9/28/1998                   Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $921,707.62
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $921,707.62

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.11
          Carlisle, McNellie, Rini, Kramer, Ulrich
          24755 Chagrin Blvd., Suite 200                                                              Last 4 digits of account number
          Cleveland, OH 44122-5690

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.12
          Huntington Bank
          17 S. High St.                                                                              Last 4 digits of account number
          Columbus, OH 43216


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 9 of 11
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            Case 1:18-bk-14430                        Doc 1           Filed 12/07/18 Entered 12/07/18 19:09:41                             Desc Main
                                                                     Document     Page 37 of 108
 Debtor 1 Michael E. Samuels                                                               Case number (if known)
              First Name                Middle Name                     Last Name
 Debtor 2 Laura G. Samuels
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.1
        Lerner, Sampson & Rothfuss
        P.O. Box 5480                                                                Last 4 digits of account number
        Cincinnati, OH 45201-5480

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.2
        Lerner, Sampson & Rothfuss
        P.O. Box 5480                                                                Last 4 digits of account number
        Cincinnati, OH 45201-5480

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.12
        Manley Deas Kochalski LLC
        P.O. Box 165028                                                              Last 4 digits of account number
        Columbus, OH 43216-5028

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.4
        Manley Deas Kochalski LLC
        P.O. Box 165028                                                              Last 4 digits of account number
        Columbus, OH 43216-5028

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.16
        Ohio Attorney General
        Attn: Collections Enforcement Section                                        Last 4 digits of account number
        150 E. Gay St., 21st Floor
        Columbus, OH 43215

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.14
        Reisenfeld & Associates*
        3962 Red Bank Rd.                                                            Last 4 digits of account number
        Cincinnati, OH 45227-3408

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.21
        Reisenfeld & Associates*
        3962 Red Bank Rd.                                                            Last 4 digits of account number
        Cincinnati, OH 45227-3408

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.22
        Stagnaro, Saba & Patterson
        7373 Beechmont Ave.                                                          Last 4 digits of account number
        Cincinnati, OH 45230

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.23
        Stagnaro, Saba & Patterson
        7373 Beechmont Ave.                                                          Last 4 digits of account number
        Cincinnati, OH 45230

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.14
        US Bank *
        205 W. Fourth St., Fifth Floor                                               Last 4 digits of account number
        Cincinnati, OH 45202




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 10 of 11
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            Case 1:18-bk-14430                        Doc 1           Filed 12/07/18 Entered 12/07/18 19:09:41                             Desc Main
                                                                     Document     Page 38 of 108
 Debtor 1 Michael E. Samuels                                                               Case number (if known)
              First Name                Middle Name                     Last Name
 Debtor 2 Laura G. Samuels
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.5
        Weltman, Weinberg & Reis
        965 Keynote Cir.                                                             Last 4 digits of account number
        Brooklyn Heights, OH 44131

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.6
        Weltman, Weinberg & Reis
        525 Vine St., Suite 800                                                      Last 4 digits of account number
        Cincinnati, OH 45202-3145

        Name, Number, Street, City, State & Zip Code                                 On which line in Part 1 did you enter the creditor?   2.7
        Weltman, Weinberg & Reis
        3705 Marlane Dr.                                                             Last 4 digits of account number
        Grove City, OH 43123-8895




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 11 of 11
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                                                                     Document     Page 39 of 108
 Fill in this information to identify your case:

 Debtor 1                     Michael E. Samuels
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Laura G. Samuels
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          City of Cincinnati                                     Last 4 digits of account number                          $1,750.00         $1,750.00                   $0.00
              Priority Creditor's Name
              805 Central Ave., Suite 600                            When was the debt incurred?
              Cincinnati, OH 45202-5977
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes                                                                        Fines - BUSINESS




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 24
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            Case 1:18-bk-14430                        Doc 1           Filed 12/07/18 Entered 12/07/18 19:09:41                              Desc Main
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 Debtor 1 Michael E. Samuels
 Debtor 2 Laura G. Samuels                                                                                 Case number (if known)

 2.2      Internal Revenue Service*                                  Last 4 digits of account number                         $8,500.00   $8,500.00              $0.00
          Priority Creditor's Name
          Centralized Insolvency Operations                          When was the debt incurred?         2016-2017
          P.O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           Income Tax

          Ohio Bureau of Workers'
 2.3      Compensation                                               Last 4 digits of account number                         Unknown     Unknown           Unknown
          Priority Creditor's Name
          Attn: Law Section Bankruptcy Unit                          When was the debt incurred?
          P.O. Box 15567
          Columbus, OH 43215-0567
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           Workers' Compensation Premiums-BUSINESS

 2.4      Ohio Dept. of Job & Family Services                        Last 4 digits of account number                         Unknown     Unknown           Unknown
          Priority Creditor's Name
          P.O. Box 182404                                            When was the debt incurred?
          Columbus, OH 43218-2404
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           Unemployment premiums-BUSINESS




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 24
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 Debtor 1 Michael E. Samuels
 Debtor 2 Laura G. Samuels                                                                                 Case number (if known)

 2.5        Regional Income Tax Agency                               Last 4 digits of account number                            $281.60                $281.60                   $0.00
            Priority Creditor's Name
            10107 Brecksville Rd.                                    When was the debt incurred?
            Brecksville, OH 44141
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only
                                                                        Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes                                                                            Income Taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Accredited Home Lenders                                    Last 4 digits of account number                                                                      Unknown
            Nonpriority Creditor's Name
            15253 Avenue of Science                                    When was the debt incurred?
            San Diego, CA 92128
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Deficiency on Foreclosure-BUSINESS




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 3 of 24
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 Debtor 1 Michael E. Samuels
 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.2      American Express                                            Last 4 digits of account number                                                           $15,500.53
          Nonpriority Creditor's Name
          P.O. Box 7871                                               When was the debt incurred?           2016-2017
          Ft. Lauderdale, FL 33329
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card-BUSINESS


 4.3      Bank of America*                                            Last 4 digits of account number                                                           $20,283.37
          Nonpriority Creditor's Name
          P.O. Box 982236                                             When was the debt incurred?           2011-2014
          El Paso, TX 79998-2236
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card-BUSINESS


 4.4      Cheviot Savings Bank                                        Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          3723 Glenmore Ave.                                          When was the debt incurred?           2003
          Cincinnati, OH 45211
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 4 of 24
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 Debtor 1 Michael E. Samuels
 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.5      Christ Hospital Medical Associates                          Last 4 digits of account number                                                               $131.38
          Nonpriority Creditor's Name
          2123 Auburn Ave., Suite 520                                 When was the debt incurred?           2018
          Cincinnati, OH 45219
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical


 4.6      Cincinnati Legal & Admin                                    Last 4 digits of account number                                                             $1,750.00
          Nonpriority Creditor's Name
          c/o Pohler & Associates                                     When was the debt incurred?
          6445 E. Livingston Ave.
          Reynoldsburg, OH 43068-3560
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Services-BUSINESS


 4.7      CIT Group                                                   Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          1 CIT Dr.                                                   When was the debt incurred?
          Livingston, NJ 07039
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 5 of 24
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 Debtor 1 Michael E. Samuels
 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.8      Dante Horton                                                Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          817 W. Kemper Rd.                                           When was the debt incurred?           2014
          Cincinnati, OH 45240
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Possible liability on breach of
              Yes                                                        Other. Specify   contract-BUSINESS


 4.9      Deutsche Bank                                               Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          60 Wall St.                                                 When was the debt incurred?
          New York, NY 10005-2858
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.1
 0        Discover*                                                   Last 4 digits of account number                                                             $2,325.94
          Nonpriority Creditor's Name
          P.O. Box 3025                                               When was the debt incurred?
          New Albany, OH 43054-3025
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card-BUSINESS




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 6 of 24
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 Debtor 1 Michael E. Samuels
 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.1
 1        Ditech                                                      Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          7360 S. Kyrene Rd.                                          When was the debt incurred?           2014
          Tempe, AZ 85283-4583
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.1
 2        Dubin, Neil MD                                              Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          58 E. Hollister St.                                         When was the debt incurred?           2017-2018
          Cincinnati, OH 45219
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical


 4.1
 3        Elite Groundscapes LLC                                      Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          12 Walnut St.                                               When was the debt incurred?           2016-2017
          Cincinnati, OH 45215
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Services-BUSINESS




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 7 of 24
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 Debtor 1 Michael E. Samuels
 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.1
 4        Emery Federal Credit Union                                  Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          7890 E. Kemper Rd.                                          When was the debt incurred?
          Cincinnati, OH 45249-1614
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Repossession


 4.1
 5        Fedloan Servicing                                           Last 4 digits of account number                                                           $25,000.00
          Nonpriority Creditor's Name
          P.O. Box 69184                                              When was the debt incurred?
          Harrisburg, PA 17106-9184
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
                                                                      Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify
                                                                                          Student Loans (non-dischargeable)
 4.1
 6        Fifth Third Bank*                                           Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          38 Fountain Square Plaza                                    When was the debt incurred?           2001-2014
          Cincinnati, OH 45263
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosures-BUSINESS




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.1
 7        Foreman & Walsh                                             Last 4 digits of account number                                                             $4,000.00
          Nonpriority Creditor's Name
          8005 Plainfield Rd.                                         When was the debt incurred?
          Cincinnati, OH 45236
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Services-BUSINESS


 4.1
 8        Franklin Savings Bank                                       Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          7944 Beechmont Ave.                                         When was the debt incurred?
          Cincinnati, OH 45255
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Deficiency on Foreclosure-BUSINESS
              Yes                                                        Other. Specify   EXPENSE


 4.1
 9        Greater Cincinnati Water Works                              Last 4 digits of account number                                                             $2,299.59
          Nonpriority Creditor's Name
          4747 Spring Grove Ave.                                      When was the debt incurred?           2017-2018
          Cincinnati, OH 45232-1986
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Utilities-BUSINESS




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.2
 0        Home Equity Solutions, Ltd.                                 Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          10979 Reed Hartman Highway                                  When was the debt incurred?
          Suite 307
          Cincinnati, OH 45242
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.2
 1        Johnstone Supply                                            Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          1212 Dalton Ave.                                            When was the debt incurred?
          Cincinnati, OH 45203
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.2
 2        Kathleen Hart                                               Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          5593 Bayberry Dr.                                           When was the debt incurred?           2008
          Cincinnati, OH 45242
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal Loan




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.2
 3        Latonia Finance Company                                     Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          3826 Winston Ave.                                           When was the debt incurred?
          Cincinnati, OH 45215
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.2
 4        LCS Financial Services                                      Last 4 digits of account number                                                             $3,771.08
          Nonpriority Creditor's Name
          6782 S. Potomac St., Suite 100                              When was the debt incurred?           2014
          Centennial, CO 80112-3915
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.2
 5        Lomas Mortgage USA                                          Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          717 Harwood St., Suite 1800                                 When was the debt incurred?
          Dallas, TX 75201-6585
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.2
 6        Lowes Credit Card                                           Last 4 digits of account number                                                           $13,830.26
          Nonpriority Creditor's Name
          P.O. Box 965004                                             When was the debt incurred?
          Orlando, FL 32896-5004
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card-BUSINESS


 4.2
 7        MainSource Bank                                             Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          2105 N. State Rd. 3 Bypass                                  When was the debt incurred?
          Greensburg, IN 47240
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.2      Manufacturers & Traders Trust
 8        Company                                                     Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          One M&T Plaza                                               When was the debt incurred?
          345 Main St.
          Buffalo, NY 14203-2399
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.2
 9        Navient                                                     Last 4 digits of account number                                                           $25,000.00
          Nonpriority Creditor's Name
          P.O. Box 9500                                               When was the debt incurred?
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
                                                                      Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify
                                                                                          Student Loans (non-dischargeable)

 4.3      Nissan Motor Acceptance Bankruptcy
 0        Dept.                                                       Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          P.O. Box 660366                                             When was the debt incurred?
          Dallas, TX 75266-0366
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Repossession


 4.3
 1        OneMain Financial                                           Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          9691 Kenwood Rd.                                            When was the debt incurred?           2/26/1996
          Cincinnati, OH 45242-6128
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Short Sale-BUSINESS




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.3
 2        PNC Bank                                                    Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          2730 Liberty Ave.                                           When was the debt incurred?
          Pittsburgh, PA 15222
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.3
 3        Professional Radiology, Inc.                                Last 4 digits of account number                                                                 $52.74
          Nonpriority Creditor's Name
          P.O. Box 630110                                             When was the debt incurred?           2016-2017
          Cincinnati, OH 45263-0110
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical


 4.3
 4        Rhonda Marsh                                                Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          817 W. Kemper Rd.                                           When was the debt incurred?           2014
          Cincinnati, OH 45240
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Possible liability on breach of
              Yes                                                        Other. Specify   contract-BUSINESS




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.3
 5        Sander German                                               Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          5435 Kenwood Rd. #1213                                      When was the debt incurred?           2010
          Cincinnati, OH 45227
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal Loan


 4.3
 6        Sandra J. Evans                                             Last 4 digits of account number                                                             $1,590.00
          Nonpriority Creditor's Name
          6300 Witheby Ave.                                           When was the debt incurred?           2016
          Cincinnati, OH 45224
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Refund of deposit owed-BUSINESS


 4.3
 7        Seterus, Inc.                                               Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          P.O. Box 1077                                               When was the debt incurred?
          Hartford, CT 06143-1077
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.3
 8        Statebridge Company                                         Last 4 digits of account number                                                           $71,814.24
          Nonpriority Creditor's Name
          5680 Greenwood Plaza Blvd., Suite                           When was the debt incurred?           2009
          100S
          Greenwood Village, CO 80111
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosures-BUSINESS


 4.3
 9        Tischler, Arthur MD                                         Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          50 Lakewood Rd.                                             When was the debt incurred?           2017-2018
          Newton, MA 02461
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical


 4.4
 0        Transamerica Financial                                      Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          910 Sycamore Ave.                                           When was the debt incurred?
          Vista, CA 92083
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS




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 Debtor 1 Michael E. Samuels
 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.4
 1        United Fidelity Bank                                        Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          411 Ludlow Ave.                                             When was the debt incurred?           2007
          Cincinnati, OH 45220
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosures-BUSINESS


 4.4
 2        United Fidelity Bank                                        Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          411 Ludlow Ave.                                             When was the debt incurred?           8/1/2000
          Cincinnati, OH 45220
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Short Sale-BUSINESS


 4.4
 3        United Fidelity Bank                                        Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          411 Ludlow Ave.                                             When was the debt incurred?           2/13/2007
          Cincinnati, OH 45220
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Short Sale-BUSINESS




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.4
 4        Urology Group                                               Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          2000 Joseph E. Sanker Blvd.                                 When was the debt incurred?           2017-2018
          Cincinnati, OH 45212
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical


 4.4
 5        US Bank Home Mortgage                                       Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          4801 Frederica St.                                          When was the debt incurred?
          Owensboro, KY 42301
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS


 4.4
 6        WesBanco, Inc.                                              Last 4 digits of account number                                                              Unknown
          Nonpriority Creditor's Name
          1 Bank Plaza                                                When was the debt incurred?
          Wheeling, WV 26003
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Deficiency on Foreclosure-BUSINESS




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 Debtor 2 Laura G. Samuels                                                                                Case number (if known)

 4.4
 7         Wolf & Adler Family Dentistry                              Last 4 digits of account number                                                                 $1,817.00
           Nonpriority Creditor's Name
           10475 Reading Rd., Suite 408                               When was the debt incurred?            2017-2018
           Cincinnati, OH 45241-2500
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Dental

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Buckingham, Doolittle & Burroughs                             Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4518 Fulton Drive, NW                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Canton, OH 44718
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Carlisle, McNellie, Rini, Kramer, Ulrich                      Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 24755 Chagrin Blvd., Suite 200                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44122-5690
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 City of Cincinnati Solicitor                                  Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 801 Plum St., Room 214                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Clunk, John Esq.                                              Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4500 Courthouse Blvd., Suite 400                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Stow, OH 44224
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Clunk, John Esq.                                              Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4500 Courthouse Blvd., Suite 400                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Stow, OH 44224
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Consumer Finance                                              Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 17518                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Baltimore, MD 21297
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Controlled Credit Corp.                                       Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 644 Linn St., Suite 1105                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45203-1742
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 D&S Global Solutions                                          Line 4.26 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 13809 Research Blvd., Suite 800                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Austin, TX 78750
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dyck-O'Neal Inc.                                              Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6060 N. Central Expressway                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Dallas, TX 75206-5209
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ERC                                                           Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 57547                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32241
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Federal Home Loan Mortgage Corp.                              Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8200 Jones Branch Dr.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Mc Lean, VA 22102-3110
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Felty & Lembright                                             Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1001 Lakeside Ave. E, Suite 1300                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44114-1197
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fifth Third Bank*                                             Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 38 Fountain Square Plaza                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45263
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Glennon Law Firm                                              Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30465                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45230
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Client Solutions                                       Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4500 South 129th Avenue, Suite 177                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Tulsa, OK 74134
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Connection Inc.                                        Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 5096                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60680-5096
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Control, Inc.                                          Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 22 E. Main St.                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 750
 Geneva, OH 44041
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Credit & Collection                                    Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5440 N. Cumberland Ave., Suite 300                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60656-1490
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Credit & Collection                                    Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5440 N. Cumberland Ave., Suite 300                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

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 Chicago, IL 60656-1490
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Credit & Collection                                    Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 2129                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Schiller Park, IL 60176-0129
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Merchant Cash, Inc.                                    Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 64 Beaver St.                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10004
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Payments, Inc.                                         Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 59371                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60659
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Recovery Services India                                Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7805 Hudson Rd., Suite 100                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Woodbury, MN 55125
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Services, Inc.                                         Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 5096                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60680
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lanter & Associates                                           Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5752 Cheviot Rd., Suite A                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45247
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lanter & Associates                                           Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5752 Cheviot Rd., Suite A                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45247
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lanter & Associates                                           Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5752 Cheviot Rd., Suite A                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45247
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lerner, Sampson & Rothfuss                                    Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 5480                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45201-5480
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Levy & Associates                                             Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 4645 Exexcutive Dr.                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43220
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Manley Deas Kochalski LLC                                     Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 165028                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43216-5028
                                                               Last 4 digits of account number



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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Manley Deas Kochalski LLC                                     Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 165028                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43216-5028
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MERS                                                          Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1818 Library St., Suite 300                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Reston, VA 20190
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Noe & MacLeid                                                 Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 810 Sycamore St., 4th Floor                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northland Group, Inc.                                         Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 390905                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Edina, MN 55439
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ohio Attorney General                                         Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Collections Enforcement Section                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 150 E. Gay St., 21st Floor
 Columbus, OH 43215
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Online Information                                            Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1489                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Winterville, NC 28590
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Penn Credit Corp.                                             Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 988                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Harrisburg, PA 17108-0988
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pohler & Associates                                           Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 6445 E. Livingston Ave.                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Reynoldsburg, OH 43068-3560
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Receivables Management Partners                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 349                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Greensburg, IN 47240-0349
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Richards & Associates                                         Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 9200 Montgomery Rd., Bldg. 7B                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45242
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Robbins, Kelly, Patterson & Tucker                            Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 7 W. Seventh St., Suite 1400                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45202-2417
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Robbins, Kelly, Patterson & Tucker                            Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims


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 7 W. Seventh St., Suite 1400                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45202-2417
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sonnek & Goldblatt                                            Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2368 Victory Pkwy., Suite 420                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45206
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sonnek & Goldblatt                                            Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2368 Victory Pkwy., Suite 420                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45206
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stawiarski & Associates                                       Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6782 S. Potomac St., Suite 150                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Centennial, CO 80112
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 U.S. Attorney                                                 Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 221 E. Fourth St., Suite 400                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 U.S. Attorney                                                 Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 312 Elm St., Suite 2300                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 U.S. Dept. of Education* - Direct Loans                       Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 5609                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Greenville, TX 75403-5609
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wyoming School District                                       Line 2.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 420 Springfield Pike                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45215
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                    10,531.60
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    10,531.60

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                    50,000.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.       $                  139,166.13

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 Debtor 2 Laura G. Samuels                                                                      Case number (if known)

                              here.

                        6j.   Total Nonpriority. Add lines 6f through 6i.                          6j.      $            189,166.13




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 24 of 24
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                Case 1:18-bk-14430                      Doc 1         Filed 12/07/18 Entered 12/07/18 19:09:41                          Desc Main
                                                                     Document     Page 63 of 108
 Fill in this information to identify your case:

 Debtor 1                  Michael E. Samuels
                           First Name                         Middle Name              Last Name

 Debtor 2                  Laura G. Samuels
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
               Case 1:18-bk-14430                         Doc 1         Filed 12/07/18 Entered 12/07/18 19:09:41               Desc Main
                                                                       Document     Page 64 of 108
 Fill in this information to identify your case:

 Debtor 1                   Michael E. Samuels
                            First Name                           Middle Name        Last Name

 Debtor 2                   Laura G. Samuels
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Home Solutions, LLC                                                                   Schedule D, line   2.3
                278 Ritchie Ave.                                                                      Schedule E/F, line
                Cincinnati, OH 45215
                                                                                                      Schedule G
                                                                                                    Equity Trust Company



    3.2         Home Solutions, Ltd.                                                                  Schedule D, line   2.4
                278 Ritchie Ave.                                                                      Schedule E/F, line
                Cincinnati, OH 45215
                                                                                                      Schedule G
                                                                                                    Fannie Mae



    3.3         Michael & Bob, LLC                                                                    Schedule D, line   2.9
                278 Ritchie Ave.                                                                      Schedule E/F, line
                Cincinnati, OH 45215
                                                                                                      Schedule G
                                                                                                    Home Equity Solutions, Ltd.




Official Form 106H                                                              Schedule H: Your Codebtors                                  Page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
            Case 1:18-bk-14430                        Doc 1           Filed 12/07/18 Entered 12/07/18 19:09:41                Desc Main
                                                                     Document     Page 65 of 108
              Michael E. Samuels
 Debtor 1 Laura G. Samuels                                                                   Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      PS Homes, LLC                                                                           Schedule D, line   2.6
             278 Ritchie Ave.                                                                        Schedule E/F, line
             Cincinnati, OH 45215
                                                                                                     Schedule G
                                                                                                  First Financial Bank



    3.5      PSH Investments, LLC                                                                   Schedule D, line   2.10
             278 Ritchie Ave.                                                                       Schedule E/F, line
             Cincinnati, OH 45215
                                                                                                    Schedule G
                                                                                                  Huntington Bank



    3.6      Thinksmart Realty, LLC                                                                 Schedule D, line   2.8
             278 Ritchie Ave.                                                                       Schedule E/F, line
             Cincinnati, OH 45215
                                                                                                    Schedule G
                                                                                                  Guardian Savings Bank*



    3.7      Willis Realty, LLC                                                                      Schedule D, line   2.2
             278 Ritchie Ave.                                                                        Schedule E/F, line
             Cincinnati, OH 45215
                                                                                                     Schedule G
                                                                                                  Ditech




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              Case 1:18-bk-14430                  Doc 1    Filed 12/07/18 Entered 12/07/18 19:09:41                                Desc Main
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Fill in this information to identify your case:

Debtor 1                      Michael E. Samuels

Debtor 2                      Laura G. Samuels
(Spouse, if filing)


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF OHIO

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Attorney -self employed                    Teacher
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Michael Samuels Law, LLC                   Summit Country Day School

       Occupation may include student        Employer's address
                                                                   278 Ritchie Ave.                           2161 Grandin Rd.
       or homemaker, if it applies.
                                                                   Cincinnati, OH 45215                       Cincinnati, OH 45208

                                             How long employed there?         opened Sept 2018                          1.5 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00      $          5,416.67

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00             $    5,416.67




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
            Case 1:18-bk-14430              Doc 1      Filed 12/07/18 Entered 12/07/18 19:09:41                                    Desc Main
                                                      Document     Page 67 of 108

Debtor 1    Michael E. Samuels
Debtor 2    Laura G. Samuels                                                                      Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         5,416.67

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $        1,115.12
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $            0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $            0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $            0.00
      5e.    Insurance                                                                     5e.        $              0.00     $          296.73
      5f.    Domestic support obligations                                                  5f.        $              0.00     $            0.00
      5g.    Union dues                                                                    5g.        $              0.00     $            0.00
      5h.    Other deductions. Specify: LTD                                                5h.+       $              0.00 +   $           26.56
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $        1,438.41
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        3,978.26
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        480.00         $               0.00
      8b. Interest and dividends                                                           8b.        $          0.00         $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $               0.00
      8d. Unemployment compensation                                                        8d.        $      1,876.00         $               0.00
      8e. Social Security                                                                  8e.        $          0.00         $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,356.00         $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,356.00 + $         3,978.26 = $           6,334.26
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $           6,334.26
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: No significant changes are anticipated.
                             Husband opened is Law Office in Sept 2018. His gross eanings for the last 3 months have been $1800.00
                             less monhtly expenses Liability insurance $50.00 and cell phone $50.00, miscell office supplies $20.00.
                             Husband also receives unemployment of $433.00 weekly.
                             Wife earns $2,500.00 salary biweekly.




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
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Fill in this information to identify your case:

Debtor 1                   Michael E. Samuels                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                   Laura G. Samuels                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF OHIO                                                  MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             29                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,214.49

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Michael E. Samuels
Debtor 2     Laura G. Samuels                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  80.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 150.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                225.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 70.00
10.   Personal care products and services                                                    10. $                                                  20.00
11.   Medical and dental expenses                                                            11. $                                                  80.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  550.00
      15b. Health insurance                                                                15b. $                                                  563.00
      15c. Vehicle insurance                                                               15c. $                                                  135.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    One dog-pet care                                                    21. +$                                                 30.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,617.49
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $                       3,104.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       7,721.49
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,334.26
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,721.49

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -1,387.23

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: No significant changes are anticipated.
                          29 y.o. daughter lives with Debtor Wife; daughter has special needs however does work at Kroger and pays her
                          own pesonal expenses.
                          Husband had been a 1099 contract attorney with the Taft Firm until August 2018. Debtor pays $563.00 monthly
                          for COBRA health insurance.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Debtor 1      Michael E. Samuels
Debtor 2      Laura G. Samuels                                                                       Case number (if known)

Fill in this information to identify your case:

Debtor 1              Michael E. Samuels                                                                Check if this is:
                                                                                                            An amended filing
Debtor 2              Laura G. Samuels                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                         expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF OHIO                                          MM / DD / YYYY

Case number
(If known)



Official Form 106J-2
Schedule J-2: Your Expenses for Separate Household of Debtor 2                                                                                        12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this
form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1:       Describe Your Household

1.    Do you and Debtor 1 maintain separate households?
            No. Do not complete this form.
            Yes

2.    Do you have dependents?              No
      Do not list Debtor 1 but             Yes.
      list all other
      dependents of Debtor 2
      regardless of whether
      listed as a dependent
      of Debtor 1 on                              Fill out this information for    Dependent’s relationship to       Dependent’s     Does dependent
      Schedule J.                                 each dependent................   Debtor 2                          age             live with you?

      Do not state the                                                                                                                  No
      dependents names.
                                                                                   Daughter                          29                 Yes
      .                                                                                                                                 No
                                                                                                                                        Yes
      .                                                                                                                                 No
                                                                                                                                        Yes
      .                                                                                                                                 No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes


Part 2:   Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                        1,200.00

      If not included in line 4:

      4a.     Real estate taxes                                                                           4a. $                               0.00
      4b.     Property, homeowner’s, or renter’s insurance                                                4b. $                               0.00
      4c.     Home maintenance, repair, and upkeep expenses                                               4c. $                               0.00
Official Form 106J                                                  Schedule J: Your Expenses                                                         page 3
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Debtor 1     Michael E. Samuels
Debtor 2     Laura G. Samuels                                                                          Case number (if known)

      4d. Homeowner’s association or condominium dues                                                        4d. $                                    0.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5. $                                    0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 150.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 150.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                350.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                180.00
10.   Personal care products and services                                                    10. $                                                  30.00
11.   Medical and dental expenses                                                            11. $                                                 120.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 275.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  165.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  424.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    2 dogs-Pet care                                                     21. +$                                                 60.00
22. Your monthly expenses. Add lines 5 through 21.                                                                   $                       3,104.00
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to
    calculate the total expenses for Debtor 1 and Debtor 2.

23. Line not used on this form.
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtor Wife's rent is $2200.00 monthly however Daughter pays $500.00 and her Father pays $500
                          and Debtor pays $1200.00.
                          Debtor Wife has financial assistance from her family to maintain her expenses including her car payment.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 4
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 Fill in this information to identify your case:

 Debtor 1                    Michael E. Samuels
                             First Name                     Middle Name             Last Name

 Debtor 2                    Laura G. Samuels
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Michael E. Samuels                                                    X   /s/ Laura G. Samuels
              Michael E. Samuels                                                        Laura G. Samuels
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       December 4, 2018                                               Date    December 4, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Michael E. Samuels
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Laura G. Samuels
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                            Dates Debtor 2
                                                                lived there                                                                    lived there
        278 Ritchie Ave.                                        From-To:                        Same as Debtor 1                                  Same as Debtor 1
        Cincinnati, OH 45215                                    1994 - 5/2017               278 Ritchie Ave.                                   From-To:
                                                                                            Cincinnati, OH 45215                               1994 - 5/2018


        3891 Mack Rd. #129                                      From-To:                        Same as Debtor 1                                  Same as Debtor 1
        Fairfield, OH 45014                                     5/2017 - 5/2018                                                                From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $67,456.25            Wages, commissions,            $54,630.90
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For last calendar year:                              Wages, commissions,                       $39,948.00            Wages, commissions,                    $0.00
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                        $67,110.00           Wages, commissions,             $15,375.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                  Wages, commissions,                       $121,293.00            Wages, commissions,                    $0.00
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Unemployment -                                                $433.00
 the date you filed for bankruptcy:   weekly

 For the calendar year before that:                Interest                                       $3,580.00
 (January 1 to December 31, 2016 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)



            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Sandra Evans v. Home Solutions &                         Small Claim                 Hamilton County Municipal                  Pending
       Michael Samuels                                                                      Court                                      On appeal
       16CV12910
                                                                                                                                       Concluded

                                                                                                                                    Judgment

       City of Cincinnati (Water works) v.                      Small Claim                 Hamilton County Municipal                  Pending
       Willis Realty                                                                        Court                                      On appeal
       18CV05969
                                                                                                                                       Concluded


       Bank of America v. Samuels                               Complaint                   Hamilton County Common                     Pending
       A1706667                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       First Financial Bank v. Samuels                          Foreclosure                 Hamilton County Common                     Pending
       A1504806                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; prop sold 2016;
                                                                                                                                    CJ filed 12/13/2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1404241                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1404742                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1404819                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1404825                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1404923                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1404952                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1404954                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1404993                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1405041                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1405071                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1405187                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1405206                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1405609                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1405729                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1406151                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1407078                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Home Solutions LLC                        Foreclosure                 Hamilton County Common                     Pending
       A1407362                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1500342                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgmenr; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1500473                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1500509                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1500649                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1500710                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2015

       Fifth Third v. Home Solutions                            Foreclosure                 Hamilton County Common                     Pending
       A1501081                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1501242                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgmenr; property sold 2016

       Fifth Third v. Willis Realty                             Foreclosure                 Hamilton County Common                     Pending
       A1504715                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1504765                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016


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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Fifth Third v. Willis Realty                             Foreclosure                 Hamilton County Common                     Pending
       A1504771                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1504824                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1504851                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Willis Realty                             Foreclosure                 Hamilton County Common                     Pending
       A1504867                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1504991                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1505037                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1505105                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1505142                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1505164                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; sold 2016


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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Fifth Third v. Samuels                                   Foreclosure                 Hamilton County Common                     Pending
       A1505766                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       US Bank v. Samuels                                       Foreclosure                 Hamilton County Common                     Pending
       A1600749                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; sold 2016

       Ditech Financial v. Samuels                              Foreclosure                 Hamilton County Common                     Pending
       A1600757                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       United Fidelity Bank v. Willis Realty                    Foreclosure                 Hamilton County Common                     Pending
       A1600821                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold 2016

       Cheviot Savings Bank v. Home                             Foreclosure                 Hamilton County Common                     Pending
       Solutions                                                                            Pleas                                      On appeal
       A1602615
                                                                                                                                       Concluded

                                                                                                                                    Judgment; properties sold
                                                                                                                                    2017

       Ditech Financial v. Willis Realty                        Foreclosure                 Hamilton County Common                     Pending
       A1603952                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold
                                                                                                                                    6/29/2017

       MainSource Bank v. Home Solutions                        Foreclosure                 Hamilton County Common                     Pending
       A1701471                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment; property sold
                                                                                                                                    9/14/2017

       Stock Yards Bank & Trust v. Home                         Foreclosure (1272           Hamilton County Common                     Pending
       Solutions                                                Frost Ct. & 817 W.          Pleas                                      On appeal
       A1404873                                                 Kemper Rd.)
                                                                                                                                       Concluded


       Mr Cooper v. Willis Realty                               Foreclosure (10829          Hamilton County Common                     Pending
       A1705674                                                 Invicta Ct.)                Pleas                                      On appeal
                                                                                                                                       Concluded



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 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Select Portfolio Servicing v. Samuels                    Foreclosure (8634           Hamilton County Common                     Pending
       A1705690                                                 Desoto Dr)                  Pleas                                      On appeal
                                                                                                                                       Concluded

                                                                                                                                    Judgment

       Ditech Financial v. Samuels                              Foreclosure (6837           Hamilton County Common                     Pending
       A1706751                                                 Greismer Ave)               Pleas                                      On appeal
                                                                                                                                       Concluded


       Mr. Cooper v. Samuels                                    Foreclosure (2524           Hamilton County Common                     Pending
       A1706942                                                 Niagara St)                 Pleas                                      On appeal
                                                                                                                                       Concluded


       US Bank v. Samuels                                       Foreclosure (9687           Hamilton County Common                     Pending
       A1800396                                                 Cedarhurst Dr)              Pleas                                      On appeal
                                                                                                                                       Concluded


       Ditech v. Samuels                                        Foreclosure (2550           Hamilton County Common                     Pending
       A1801229                                                 Ontario St)                 Pleas                                      On appeal
                                                                                                                                       Concluded


       United Fidelity Bank v. Willis Realty                    Foreclosure - 3705          Hamilton County Common                     Pending
       A1801760                                                 Standish                    Pleas                                      On appeal
                                                                                                                                       Concluded


       United Fidelity Bank v. Willis Realty                    Foreclosure - 3923          Hamilton County Common                     Pending
       A1801761                                                 Zinsle                      Pleas                                      On appeal
                                                                                                                                       Concluded


       Statebridge Company v. Samuels                           Complaint                   Hamilton County Common                     Pending
       A1802203                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded


       FNMA v. Samuels                                          Foreclosure - 1306          Hamilton County Common                     Pending
       A1802285                                                 Madeleine Cir.              Pleas                                      On appeal
                                                                                                                                       Concluded


       American Express v. Samuels                              Complaint                   Hamilton County Common                     Pending
       A1805781                                                                             Pleas                                      On appeal
                                                                                                                                       Concluded




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                                                                     Document     Page 82 of 108
 Debtor 1      Michael E. Samuels
 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                  Value of the
                                                                                                                                                       property
                                                                Explain what happened
       Ditech                                                   6491 Betts Ave., Cincinnati, OH 45239                         6/29/2017                Unknown
       7360 S. Kyrene Rd.
       Tempe, AZ 85283-4583                                          Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       MainSource Bank                                          1818 Emerson Ave., Cincinnati, OH 45239                       9/14/2017                Unknown
       2105 N. State Rd. 3 Bypass
       Greensburg, IN 47240                                          Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was            Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                     Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




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 Debtor 2      Laura G. Samuels                                                                            Case number (if known)


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Kathleen Mezher & Associates, LLC                              Attorney Fees                                           5/2018                      $6,000.00
       8075 Beechmont Avenue
       Cincinnati, OH 45255
       kathleen@mezherlaw.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you
       Luis Ojeda                                                     3923 Zinsle Ave.                          $60,000.00 gross sale             10/2018
       3626 Zinsle Ave.                                               CIncinnati, OH 45213                      price; Debtor had to pay
       Cincinnati, OH 45213                                                                                     $610.05 to close sale.

       None

       Luis Ojeda                                                     3705 Standish Ave.                        $55,000.00 gross sale             10/2018
       3626 Zinsle Ave.                                               CIncinnati, OH 45213                      price; Debtor had to pay
       Cincinnati, OH 45213                                                                                     $34.72 to close sale.

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
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 Debtor 2      Laura G. Samuels                                                                              Case number (if known)


      beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                      Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of               Type of account or       Date account was          Last balance
       Address (Number, Street, City, State and ZIP             account number                 instrument               closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                           have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                   have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)


 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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 Debtor 2      Laura G. Samuels                                                                                  Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                   Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       Unlocking Potential, LLC                                 Counselling                                           EIN:       4948
                                                                                                                      From-To    2015-2017

       PSH Investments, LLC                                     Real Estate Rental                                    EIN:       1608
       278 Ritchie Ave.
       Cincinnati, OH 45215                                                                                           From-To    2011-2017

       Michael Samuels Law, LLC                                 Law Practice                                          EIN:       1606
       278 Ritchie Ave.
       Cincinnati, OH 45215                                                                                           From-To    9/2018 - present

       Willis Realty, LLC                                       Real Estate Rental                                    EIN:       1606
       278 Ritchie Ave.
       Cincinnati, OH 45215                                                                                           From-To    2015-2017




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       Business Name                                            Describe the nature of the business              Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Home Solutions, LLC                                      Real estate rental                               EIN:
       278 Ritchie Ave.
       Cincinnati, OH 45215                                                                                      From-To      2001-2016

       Home Solutions, Ltd.                                     Real estate rental                               EIN:
       278 Ritchie Ave.
       Cincinnati, OH 45215                                                                                      From-To      2001-2016

       PS Homes, LLC                                            Real Estate Rental                               EIN:
       278 Ritchie Ave.
       Cincinnati, OH 45215                                                                                      From-To      2008-2017

       Thinksmart Realty, LLC                                   Real Estate Rental                               EIN:
       278 Ritchie Ave.
       Cincinnati, OH 45215                                                                                      From-To      1999-2017

       Michael & Bob, LLC                                       Real estate rental                               EIN:
       278 Ritchie Ave.
       Cincinnati, OH 45215                                                                                      From-To      1996-2017


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




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 Debtor 2      Laura G. Samuels                                                                            Case number (if known)



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Michael E. Samuels                                                  /s/ Laura G. Samuels
 Michael E. Samuels                                                      Laura G. Samuels
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     December 4, 2018                                               Date     December 4, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 15
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        Southern District of Ohio
             Michael E. Samuels
 In re       Laura G. Samuels                                                                                 Case No.
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     6,000.00
             Prior to the filing of this statement I have received                                        $                     6,000.00
             Balance Due                                                                                  $                        0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
                 agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance
                 of liens on household goods.
                 Debtors retained counsel in November 2017 for bankruptcy planning; Debtors' situation had numerous complexities due to
                 multiple foreclosures pending, tax issues, employment issues, and marital issues, all of which affected the bankruptcy
                 analysis and decisionmaking for filing their bankruptcy petition.
                 Counsel had to engage in extensive research on the status of lawsuits, ownership of real estate, mortgage and lien
                 recordation, and status of Debtors' business entities.
                 Counsel engaged in numerous discussions and meetings with Debtors concerning their income and living arrangements.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.




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             Michael E. Samuels
 In re       Laura G. Samuels                                                                         Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 4, 2018                                                           /s/ Kathleen D. Mezher
     Date                                                                       Kathleen D. Mezher #0016982
                                                                                Signature of Attorney
                                                                                Kathleen Mezher & Associates, LLC
                                                                                8075 Beechmont Avenue
                                                                                Cincinnati, OH 45255
                                                                                (513) 388-4651; (513) 474-3700 Fax: (513) 388-4652
                                                                                kathleen@mezherlaw.com
                                                                                Name of law firm




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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Michael E. Samuels
 Debtor 2              Laura G. Samuels                                                                    1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Southern District of Ohio
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from rental or other real property             $           Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 2     Laura G. Samuels                                                                          Case number (if known)



                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                           $                                       $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                        $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                      $                            $
                                                                                                    $                            $
                  Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =    $

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>             $


              Multiply by 12 (the number of months in a year)                                                                                         x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                          13.    $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Michael E. Samuels                                                 X /s/ Laura G. Samuels
                Michael E. Samuels                                                        Laura G. Samuels
                Signature of Debtor 1                                                     Signature of Debtor 2
        Date December 4, 2018                                                      Date December 4, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1            Michael E. Samuels

 Debtor 2           Laura G. Samuels
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Southern District of Ohio

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                                                                                               If your exclusion period ends before your case is closed,
                         ending on                  , which is fewer than 540 days before I
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Michael E. Samuels
 Debtor 2              Laura G. Samuels                                                                    1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Southern District of Ohio
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from rental or other real property             $           Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Michael E. Samuels
 Debtor 2     Laura G. Samuels                                                                          Case number (if known)



                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                           $                                       $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                        $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                      $                            $
                                                                                                    $                            $
                  Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =    $

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>             $


              Multiply by 12 (the number of months in a year)                                                                                         x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                          13.    $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Michael E. Samuels                                                 X /s/ Laura G. Samuels
                Michael E. Samuels                                                        Laura G. Samuels
                Signature of Debtor 1                                                     Signature of Debtor 2
        Date December 4, 2018                                                      Date December 4, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1            Michael E. Samuels

 Debtor 2           Laura G. Samuels
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Southern District of Ohio

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                                                                                               If your exclusion period ends before your case is closed,
                         ending on                  , which is fewer than 540 days before I
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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                         Accredited Home Lenders
                         15253 Avenue of Science
                         San Diego, CA 92128

                         American Express
                         P.O. Box 7871
                         Ft. Lauderdale, FL 33329

                         Bank of America
                         P.O. Box 982236
                         El Paso, TX 79998-2236

                         Buckingham, Doolittle & Burroughs
                         4518 Fulton Drive, NW
                         Canton, OH 44718

                         Carlisle, McNellie, Rini, Kramer, Ulrich
                         24755 Chagrin Blvd., Suite 200
                         Cleveland, OH 44122-5690

                         Cheviot Savings Bank
                         3723 Glenmore Ave.
                         Cincinnati, OH 45211

                         Christ Hospital Medical Associates
                         2123 Auburn Ave., Suite 520
                         Cincinnati, OH 45219

                         Cincinnati Legal & Admin
                         c/o Pohler & Associates
                         6445 E. Livingston Ave.
                         Reynoldsburg, OH 43068-3560

                         CIT Group
                         1 CIT Dr.
                         Livingston, NJ 07039

                         City of Cincinnati
                         805 Central Ave., Suite 600
                         Cincinnati, OH 45202-5977
                         City of Cincinnati Solicitor
                         801 Plum St., Room 214
                         Cincinnati, OH 45202

                         Clunk, John   Esq.
                         4500 Courthouse Blvd., Suite 400
                         Stow, OH 44224

                         Consumer Finance
                         P.O. Box 17518
                         Baltimore, MD 21297
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                     Controlled Credit Corp.
                     644 Linn St., Suite 1105
                     Cincinnati, OH 45203-1742

                     CSC Credit Services
                     P.O. Box 740040
                     Atlanta, GA 30374-0040

                     D&S Global Solutions
                     13809 Research Blvd., Suite 800
                     Austin, TX 78750

                     Dante Horton
                     817 W. Kemper Rd.
                     Cincinnati, OH 45240

                     Deutsche Bank
                     60 Wall St.
                     New York, NY 10005-2858

                     Discover
                     P.O. Box 3025
                     New Albany, OH 43054-3025

                     Ditech
                     7360 S. Kyrene Rd.
                     Tempe, AZ 85283-4583

                     Ditech
                     P.O. Box 6172
                     Rapid City, SD 57709-6172

                     Dubin, Neil   MD
                     58 E. Hollister St.
                     Cincinnati, OH 45219

                     Dyck-O'Neal Inc.
                     6060 N. Central Expressway
                     Dallas, TX 75206-5209

                     Elite Groundscapes LLC
                     12 Walnut St.
                     Cincinnati, OH 45215

                     Emery Federal Credit Union
                     7890 E. Kemper Rd.
                     Cincinnati, OH 45249-1614

                     Equity Trust Company
                     P.O. Box 16354
                     Rochester, NY 14616-3545

                     ERC
                     P.O. Box 57547
                     Jacksonville, FL 32241
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                     Experian
                     P.O. Box 9701
                     Allen, TX 75013-9701

                     Fannie Mae
                     One S. Wacker Dr., Suite 1300
                     Chicago, IL 60606-4667

                     Federal Home Loan Mortgage Corp.
                     8200 Jones Branch Dr.
                     Mc Lean, VA 22102-3110

                     Fedloan Servicing
                     P.O. Box 69184
                     Harrisburg, PA 17106-9184

                     Felty & Lembright
                     1001 Lakeside Ave. E, Suite 1300
                     Cleveland, OH 44114-1197

                     Fifth Third Bank
                     38 Fountain Square Plaza
                     Cincinnati, OH 45263

                     First Financial Bank
                     300 High St., Room 601
                     Hamilton, OH 45011

                     Foreman & Walsh
                     8005 Plainfield Rd.
                     Cincinnati, OH 45236

                     Franklin Savings Bank
                     7944 Beechmont Ave.
                     Cincinnati, OH 45255

                     Glennon Law Firm
                     P.O. Box 30465
                     Cincinnati, OH 45230

                     Global Client Solutions
                     4500 South 129th Avenue, Suite 177
                     Tulsa, OK 74134

                     Global Connection Inc.
                     P.O. Box 5096
                     Chicago, IL 60680-5096

                     Global Control, Inc.
                     22 E. Main St.
                     P.O. Box 750
                     Geneva, OH 44041
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                     Global Credit & Collection
                     5440 N. Cumberland Ave., Suite 300
                     Chicago, IL 60656-1490

                     Global Credit & Collection
                     P.O. Box 2129
                     Schiller Park, IL 60176-0129

                     Global Merchant Cash, Inc.
                     64 Beaver St.
                     New York, NY 10004

                     Global Payments, Inc.
                     P.O. Box 59371
                     Chicago, IL 60659

                     Global Recovery Services India
                     7805 Hudson Rd., Suite 100
                     Woodbury, MN 55125

                     Global Services, Inc.
                     P.O. Box 5096
                     Chicago, IL 60680

                     Greater Cincinnati Water Works
                     4747 Spring Grove Ave.
                     Cincinnati, OH 45232-1986

                     Guardian Savings Bank
                     2774 Blue Rock Rd.
                     Cincinnati, OH 45239

                     Home Equity Solutions, Ltd.
                     10979 Reed Hartman Highway
                     Suite 307
                     Cincinnati, OH 45242

                     Home Solutions, LLC
                     278 Ritchie Ave.
                     Cincinnati, OH 45215
                     Home Solutions, Ltd.
                     278 Ritchie Ave.
                     Cincinnati, OH 45215

                     Huntington Bank
                     17 S. High St.
                     Columbus, OH 43216

                     Internal Revenue Service
                     Centralized Insolvency Operations
                     P.O. Box 7346
                     Philadelphia, PA 19101-7346
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                     Johnstone Supply
                     1212 Dalton Ave.
                     Cincinnati, OH 45203

                     Kathleen Hart
                     5593 Bayberry Dr.
                     Cincinnati, OH 45242

                     Lanter & Associates
                     5752 Cheviot Rd., Suite A
                     Cincinnati, OH 45247

                     Latonia Finance Company
                     3826 Winston Ave.
                     Cincinnati, OH 45215

                     LCS Financial Services
                     6782 S. Potomac St., Suite 100
                     Centennial, CO 80112-3915

                     Lerner, Sampson & Rothfuss
                     P.O. Box 5480
                     Cincinnati, OH 45201-5480

                     Levy & Associates
                     4645 Exexcutive Dr.
                     Columbus, OH 43220

                     Lomas Mortgage USA
                     717 Harwood St., Suite 1800
                     Dallas, TX 75201-6585

                     Lowes Credit Card
                     P.O. Box 965004
                     Orlando, FL 32896-5004

                     MainSource Bank
                     2105 N. State Rd. 3 Bypass
                     Greensburg, IN 47240

                     Manley Deas Kochalski LLC
                     P.O. Box 165028
                     Columbus, OH 43216-5028

                     Manufacturers & Traders Trust Company
                     One M&T Plaza
                     345 Main St.
                     Buffalo, NY 14203-2399

                     MERS
                     1818 Library St., Suite 300
                     Reston, VA 20190
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                     Michael & Bob, LLC
                     278 Ritchie Ave.
                     Cincinnati, OH 45215

                     Mr. Cooper Mortgage
                     8950 Cypress Waters Blvd.
                     Dallas, TX 75019

                     Navient
                     P.O. Box 9500
                     Wilkes Barre, PA 18773

                     Nissan Motor Acceptance Bankruptcy Dept.
                     P.O. Box 660366
                     Dallas, TX 75266-0366

                     Noe & MacLeid
                     810 Sycamore St., 4th Floor
                     Cincinnati, OH 45202

                     Northland Group, Inc.
                     P.O. Box 390905
                     Edina, MN 55439

                     Ocwen
                     1661 Worthington Rd., Suite 100
                     West Palm Beach, FL 33409

                     Ohio Attorney General
                     Attn: Collections Enforcement Section
                     150 E. Gay St., 21st Floor
                     Columbus, OH 43215

                     Ohio Bureau of Workers' Compensation
                     Attn: Law Section Bankruptcy Unit
                     P.O. Box 15567
                     Columbus, OH 43215-0567
                     Ohio Dept. of Job & Family Services
                     P.O. Box 182404
                     Columbus, OH 43218-2404

                     Ohio Dept. of Taxation
                     Attn: Bankruptcy Division
                     P.O. Box 530
                     Columbus, OH 43266-0530

                     OneMain Financial
                     9691 Kenwood Rd.
                     Cincinnati, OH 45242-6128

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                     P.O. Box 1489
                     Winterville, NC 28590
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                     Penn Credit Corp.
                     P.O. Box 988
                     Harrisburg, PA 17108-0988

                     PNC Bank
                     2730 Liberty Ave.
                     Pittsburgh, PA 15222

                     Pohler & Associates
                     6445 E. Livingston Ave.
                     Reynoldsburg, OH 43068-3560

                     Professional Radiology, Inc.
                     P.O. Box 630110
                     Cincinnati, OH 45263-0110

                     PS Homes, LLC
                     278 Ritchie Ave.
                     Cincinnati, OH 45215

                     PSH Investments, LLC
                     278 Ritchie Ave.
                     Cincinnati, OH 45215

                     Receivables Management Partners
                     P.O. Box 349
                     Greensburg, IN 47240-0349

                     Regional Income Tax Agency
                     10107 Brecksville Rd.
                     Brecksville, OH 44141

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                     Cincinnati, OH 45227-3408

                     Rhonda Marsh
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                     Richards & Associates
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                     Cincinnati, OH 45242

                     Robbins, Kelly, Patterson & Tucker
                     7 W. Seventh St., Suite 1400
                     Cincinnati, OH 45202-2417

                     Sander German
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                     Cincinnati, OH 45227

                     Sandra J. Evans
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                     Cincinnati, OH 45224
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                     Select Portfolio Servicing, Inc.
                     Attn: Bankruptcy Dept.
                     P.O. Box 65250
                     Salt Lake City, UT 84165-0250

                     Seterus, Inc.
                     P.O. Box 1077
                     Hartford, CT 06143-1077

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                     2368 Victory Pkwy., Suite 420
                     Cincinnati, OH 45206

                     Stagnaro, Saba & Patterson
                     7373 Beechmont Ave.
                     Cincinnati, OH 45230

                     Statebridge Company
                     5680 Greenwood Plaza Blvd., Suite 100S
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                     Stawiarski & Associates
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                     Centennial, CO 80112

                     Stock Yards Bank & Trust
                     1040 E. Main St.
                     P.O. Box 32890
                     Louisville, KY 40232-2890

                     Thinksmart Realty, LLC
                     278 Ritchie Ave.
                     Cincinnati, OH 45215

                     Tischler, Arthur         MD
                     50 Lakewood Rd.
                     Newton, MA 02461
                     Trans Union Corporation
                     2 Baldwin Pl.
                     P.O. Box 1000
                     Chester, PA 19022-2001

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                     910 Sycamore Ave.
                     Vista, CA 92083

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                     Cincinnati, OH 45202

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                     U.S. Dept. of Education - Direct Loans
                     P.O. Box 5609
                     Greenville, TX 75403-5609

                     United Fidelity Bank
                     411 Ludlow Ave.
                     Cincinnati, OH 45220

                     Urology Group
                     2000 Joseph E. Sanker Blvd.
                     Cincinnati, OH 45212

                     US Bank
                     205 W. Fourth St., Fifth Floor
                     Cincinnati, OH 45202

                     US Bank Home Mortgage
                     4801 Frederica St.
                     Owensboro, KY 42301

                     Weltman, Weinberg & Reis
                     965 Keynote Cir.
                     Brooklyn Heights, OH 44131

                     Weltman, Weinberg & Reis
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                     Cincinnati, OH 45202-3145

                     Weltman, Weinberg & Reis
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                     Grove City, OH 43123-8895

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                     1 Bank Plaza
                     Wheeling, WV 26003

                     Willis Realty, LLC
                     278 Ritchie Ave.
                     Cincinnati, OH 45215

                     Wolf & Adler Family Dentistry
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                     Wyoming School District
                     420 Springfield Pike
                     Cincinnati, OH 45215
